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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION




 TONY JEROME HENRY,

         Petitioner,

 v.                                                            CASE NO. 8:10-CV-802-T-30MAP
                                                         CRIM. CASE NO. 8:06-CR-314-T-30MAP
 UNITED STATES OF AMERICA,

       Respondent.
 ______________________________/

                                                    ORDER

         THIS CAUSE comes before the Court upon Petitioner's pro se Motion to Vacate, Set

 Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (“motion”) (CV Dkt. 1). After

 reviewing the Petitioner's motion, Respondent's response (CV Dkt. 7), Petitioner’s amended

 reply (CV Dkt. 14),1 and the prior proceedings in the underlying criminal case, the Court

 concludes that this motion should be denied without an evidentiary hearing because it plainly

 appears from the face of the record that Petitioner is entitled to no relief.

                                                 Background

         Petitioner was charged by a Second Superseding Indictment with one count of

 conspiring to distribute and to possess with intent to distribute at least 50 grams of cocaine

 base, in violation of 21 U.S.C. §§ 841 and 846; six counts of distributing cocaine base, in


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          Petitioner’s reply (CV Dkt. 8), and amendment to his reply (CV Dkt. 9), were stricken because they were
 signed by an individual, other than Petitioner, who is not a licensed attorney (See CV Dkt. 10).
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 violation of 21 U.S.C. § 841 and 18 U.S.C. § 2; and one count of maintaining a place for the

 purpose of distributing crack cocaine in violation of 21 U.S.C. § 856 (CR Dkt. 87).2 On July

 7, 2007, a jury found Petitioner guilty on all counts (CR Dkt. 201). On November 2, 2007,

 judgment was entered, and this Court sentenced Petitioner to life imprisonment, and 120

 months supervised release (CR Dkt. 230).

          Petitioner appealed. On January 13, 2009, the Eleventh Circuit Court of Appeals

 affirmed Petitioner's convictions and sentences (CR Dkt. 328); United States v. Henry, 307

 Fed. Appx. 331 (11th Cir.) (unpublished opinion), cert. denied, 129 S.Ct. 2037 (April 20,

 2009).

          Petitioner timely filed his motion on April 5, 2010 (CV Dkt. 1). In his motion,

 Petitioner raised the following claims: 1) “Petitioner’s current active sentences of two life

 sentences without the possibility of parole is ‘plain error’ disparity”; 2) “Petitioner’s counsel

 was ineffective by the act of failing [sic] by failing to bring forth a [sic] ‘adversarial

 challenge’ to the legal sufficiency of the affidavit requesting search warrant”; 3) “Petitioner’s

 counsel was ineffective for failing to move for dismissal of the Oct. 2, 2002 charge based on

 the statute of limitation defense”; and 4) “Petitioner’s Counsel was ineffective by failing to

 object to prosecution’s predetermined mind set of the Defendant’s guilt before the jury by

 way of prosecution’s statements.” (Id.). Respondent filed a response to the motion on July

 23, 2010 (CV Dkt. 7). Petitioner filed his amended reply on October 28, 2010 (CV Dkt. 14).



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           Several others were charged in the Second Superseding Indictment with various crimes (CR Dkt. 87).

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                                          Discussion

 Ground One

        In Ground One of his motion, Petitioner appears to raise a claim of sentencing

 disparity. Specifically, he appears to assert that his life sentences are a “fundamental

 miscarriage of justice” because his co-defendants received lesser sentences.

 I.     Petitioner's claim is procedurally defaulted

        A claim is generally procedurally defaulted if it is not raised on direct appeal unless

 the Petitioner can show cause for the failure to raise it and actual prejudice. Lynn v. United

 States, 365 F.3d 1225, 1234 (11th Cir. 2004); McCoy v. United States, 266 F.3d 1245, 1258

 (11th Cir. 2001) (citing United States v. Frady, 456 U.S. 152 (1982)). Here, Petitioner failed

 to raise his sentencing disparity claim on direct appeal. He has not made any showing of

 cause and prejudice, and there is no evidence establishing that he is actually innocent.

 Consequently, Petitioner's claim is procedurally barred from habeas review.

 II.    Petitioner's claim is without merit

        Even if Petitioner’s sentencing disparity claim were not procedurally defaulted, it

 would be denied because it is without merit. Title 18 U.S.C. § 3553(a)(6) provides that in

 imposing sentence the court shall consider the need to avoid unwarranted sentence disparities

 among defendants with similar records who have been found guilty of similar conduct. 18

 U.S.C. § 3553(a)(6); United States v. Docampo, 573 F.3d 1091, 1102 (11th Cir. 2009). This

 issue often arises in cases with multiple co-defendants, such as in Petitioner’s case. See

 Docampo, 573 F.3d 1091.        Petitioner has the burden to establish that “the sentence is

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 unreasonable in the light of both [the] record and the factors in section 3553(a)." Docampo,

 573 F.3d at 1103 (quoting United States v. Talley, 431 F.3d 784, 788 (11th Cir. 2005)).

          In the instant case, Petitioner’s co-defendants had a total offense level of either 34 or

 36, and a criminal history category of either I or III (See CR Dkts. 238, 244, 245). Petitioner

 had a base offense level of 36 (CR Dkt. 296 at pg. 8). Petitioner’s base offense level,

 however, was increased 2 levels for his possession of dangerous weapons, and increased 4

 more levels for his role as an organizer and leader in a conspiracy involving more than five

 participants. See PSR at ¶¶ 51, 53. His resulting total offense level as determined by the

 Court at sentencing was 42 (See CR Dkt. 226). He had a criminal history category of V (Id.).

 His guideline imprisonment range was 360 months to life imprisonment (Id.). Further, as to

 his convictions on Counts I and II of the Second Superseding Indictment, the mandatory term

 of imprisonment was life. See PSR at ¶ 125; (CR Dkt. 296 at pgs. 9-11).3 Thus, Petitioner’s

 sentence was greater than his co-defendants as a result of the adjustments to his offense level

 for his leadership role in the conspiracy4 and the possession of weapons, his extensive

 criminal history, and the statutory mandatory term of life imprisonment.




          3
          Petitioner had at least two prior felony drug convictions. See PSR at pgs. 13-16; (CR Dkt. 296 at pg. 9).
 18 U.S.C. § 841(b)(1)(A) states in pertinent part that “[i]f any person commits a violation of this subparagraph...after
 two or more prior convictions for a felony drug offense have become final, such person shall be sentenced to a
 mandatory term of life imprisonment without release...”
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           Cf. United States v. Thomas, 446 F.3d 1348, 1357 (11th Cir. 2006) (stating that longer sentence imposed on
 organizer or leader of conspiracy, who engaged in coordination efforts of conspiracy to obstruct, delay, or affect
 commerce by robbery "was well within the bounds of reasonableness").




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        Petitioner fails to demonstrate that his sentence was disparate to that of other similarly

 situated defendants. Accordingly, Count One does not merit relief.

 Ground Two

        In Ground Two, Petitioner complains that trial counsel was ineffective in failing to

 challenge the legal sufficiency of the affidavit supporting a search warrant. In support of his

 claim, Petitioner asserts that “police relied on information from unnamed informant, had no

 indication of the informant’s truthfulness, or reliability, and had little or no corroboration.”

 (CR Dkt. 1 at pg. 5). Petitioner also asserts that “counsel should have filed a motion to

 suppress illegally obtained evidence.” (Id.)

        The standard for assessing a claim of ineffective assistance of counsel is whether the

 counsel's conduct so undermined the proper functioning of the adversarial process that the

 trial cannot be relied on as having produced a just result. Strickland v. Washington, 466 U.S.

 668, 688 (1984). A claim for ineffectiveness of counsel may be grounds for vacating a

 conviction if the defendant can show that (1) counsel's performance was deficient and (2) that

 the deficient performance prejudiced the defendant. Id. at 687. Both of these components

 have to be met. Id. For performance to be deficient, it must be established that, in light on

 all the circumstances, counsel's performance was outside the wide range of professional

 competence. Id. at 690. Additionally, the burden of persuasion is on the petitioner to prove,

 by a preponderance of the evidence, that counsel's performance was unreasonable. Chandler

 v. United States, 218 F.3d 1305, 1313 (11th Cir. 2000). The burden of persuasion is high and

 there is a strong presumption that counsel's performance was reasonable. Strickland, 466 U.S.

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 at 689-90. Furthermore, for a petitioner to show deficient performance, he must establish that

 no competent attorney would have taken the actions that his counsel did. Chandler, 218 F.3d

 at 1315.

          Initially, Ground Two fails because Petitioner’s claim is wholly vague and conclusory.

 He asserts that counsel should have moved to suppress evidence. He does not, however,

 identify the evidence counsel should have moved to suppress. Further, he does not identify

 the search warrant that was allegedly supported by a legally insufficient affidavit.5 Nor does

 he show any prejudice as a result of the unspecified search warrant because he does not

 identify the evidence the government obtained as a result of the search warrant. Petitioner's

 vague and conclusory complaints about his attorney's representation with regard to moving

 to suppress evidence and failing to challenge the sufficiency of a search warrant affidavit do

 not support a claim of ineffective assistance of counsel. See Tejada v. Dugger, 941 F.2d

 1551, 1559 (11th Cir. 1991).

          Further, to establish probable cause, a search warrant affidavit must "state facts

 sufficient to justify a conclusion that evidence or contraband will probably be found at the

 premises to be searched." United States v. Martin, 297 F.3d 1308, 1314 (11th Cir. 2002)

 (internal quotation and citation omitted). "[T]he affidavit should establish a connection

 between the defendant and the residence to be searched and a link between the residence and

 any criminal activity." Id. Petitioner fails to state the basis for either the lack of probable

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             Agent Craig Kailimai’s trial testimony shows that multiple search warrants were executed on different
 dates, i.e., June 2006 and November 2006. (CR Dkt. 302 at pgs. 227, 253).



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 cause or to suspect that the confidential informant was unreliable. Petitioner’s conclusory

 assertions fail to establish that a valid basis existed to suppress evidence or that his counsel

 was ineffective for failing to pursue such a basis. See United States v. Richardson, 764 F.2d

 1514, 1527 (11th Cir. 1985). Consequently, Ground Two is without merit.6

 Ground Three

         In Ground Three, Petitioner complains counsel was ineffective in failing to move to

 dismiss Count Two of the Second Superseding Indictment for violation of the statute of

 limitations. "The general statute of limitations for noncapital offenses is five years. See 18

 U.S.C. § 3282 ("Except as otherwise expressly provided by law, no person shall be

 prosecuted, tried, or punished for any offense, not capital, unless the indictment is found or

 the information is instituted within five years next after such offense shall have been

 committed.")." United States v. Gilbert, 136 F.3d 1451, 1453 (11th Cir. 1998). "Statutes of

 limitations normally begin to run when the crime is complete." Id. (quoting Pendergast v.

 United States, 317 U.S. 412, 418-20 (1943)). Count Two of the Second Superseding

 Indictment charged Petitioner with distributing crack cocaine on October 2, 2002 (CR Dkt.

 44 at pg. 2). The Second Superseding Indictment was returned on November 14, 2006, well

 within five years of the commission of the charged offense. (Id.). Therefore, there was no

 statute of limitations problem. “A lawyer cannot be deficient for failing to raise a meritless



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           The Court notes that in Agent Kailimai’s Affidavit for Criminal Complaint, Agent Kailimai verified that
 the informant was “reliable.” The Affidavit also indicates there were three separate drug transactions between the
 informant and Petitioner on September 28, October 3, and October 10, 2005 (CR Dkt. 2). All these transactions
 occurred prior to the execution of the November 2006 search warrant.

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 claim [.]” See Freeman v. Attorney General, State of Florida, 536 F.3d 1225, 1233 (11th Cir.

 2008) (citing Chandler v. Moore, 240 F.3d 907, 917 (11th Cir. 2001)). Accordingly, Ground

 Three does not warrant relief.

 Ground Four

          In Ground Four, Petitioner asserts counsel was ineffective in failing to object to the

 prosecutor’s prejudicial remarks during closing argument. Specifically, Petitioner asserts

 that counsel was ineffective in failing to object to the prosecutor’s statements that Petitioner

 is “a crack dealer,” that the jury should “tell Defendant Henry, he ain’t the man” and that

 Defendants “worshiped the wrong God. I know who God is, apparently they didn’t” because

 the statements were improper, greatly influenced the jury, and denied him a fair trial.7

          In some instances, improper closing arguments by a prosecutor may give rise to a

 prosecutorial misconduct claim. United States v. Eckhardt, 466 F.3d 938, 947 (11th Cir.

 2006). It can be reasonably concluded, however, that none of the prosecutor’s comments in

 the instant case so infected the trial with unfairness as to make the resulting conviction a

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           To the extent Petitioner raises a “cumulative effect” claim in his amended reply (see CR Dkt. 14), the
 claim is barred because it was not raised in his § 2255 motion, and the government would be prejudiced were the
 Court to consider it. The Eleventh Circuit Court of Appeals stated in Herring v. Secretary, Dept. of Corrections,
 397 F.3d 1338 (11th Cir. 2005):

          arguments raised for the first time in a reply brief are not properly before a reviewing court. United
          States v. Coy, 19 F.3d 629, 632 n. 7 (11th Cir.1994) (citation omitted); see also United States v.
          Whitesell, 314 F.3d 1251, 1256 (11th Cir.2002) (Court need not address issue raised for first time
          in reply brief), cert. denied, 539 U.S. 951, 123 S. Ct. 2628, 156 L. Ed. 2d 643 (2003); United
          States v. Dicter, 198 F.3d 1284, 1289 (11th Cir.1999) (issue raised for first time in reply brief
          waived); United States v. Martinez, 83 F.3d 371, 377 n. 6 (11th Cir.1996) (declining to consider
          arguments raised for the first time in a reply brief).

 Id. at 1342. See also Rules Governing Habeas Corpus Cases Under Section 2255, Rule 2(b)(2010)("The motion
 must…specify all the grounds for relief available to the petitioner[.]")(emphasis added). Moreover, none of the
 prosecutor’s comments so infected the trial with unfairness as to make the convictions a denial of due process.

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 denial of due process. See Donnelly v. DeChristoforo, 416 U.S. 637, 642 (1974); Cargill v.

 Turpin, 120 F.3d 1366, 1379 (11th Cir.1997)(if reviewing court is confident that, absent

 improper prosecutorial remarks, jury's decision would have been no different, proceeding

 cannot be said to have been fundamentally unfair, and habeas relief is not warranted).

        It is not enough that a prosecutor's comments were undesirable or even universally

 condemned. See Cobb v. Wainwright, 609 F. 2d 754 (5th Cir.), cert. denied, 447 U.S. 907

 (1980). A petitioner must show the comments so infected the trial with unfairness as to make

 the resulting conviction a denial of due process. Darden v. Wainwright, 477 U.S. 168, 181

 (986)(citation omitted). In making this assessment, the reviewing court must consider the

 allegedly improper comments in the context of both the prosecutor's entire closing argument

 and the trial as a whole. Branch v. Estelle, 631 F. 2d 1229, 1233 (5th Cir. 1980). Among the

 considerations is the strength of the evidence. Cobb v. Wainwright, 609 F. 2d at 756.

        Initially, the record shows that objections were made to the prosecutor’s statements

 that Petitioner asserts were inappropriate and prejudicial (See CR Dkt. 303 at pgs. 100-101).8

 Thus, Petitioner cannot show counsel’s performance was deficient in failing to object to the

 statements.

        Moreover, in view of the ample evidence which established his guilt of the crimes for

 which he was found guilty by his jury, any claimed constitutional error in the prosecutor's

 remarks had no substantial and injurious effect or influence in determining the jury's verdict.



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         Mr. Fernandez, Defendant Jenkins’ attorney, raised the objections to the prosecutor’s statements (Id.).

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 Brecht v. Abrahamson, 507 U.S. 619, 637 (1993). Accordingly, there was no resulting

 prejudice from Petitioner’s counsel declining to object to the prosecutor's remarks during

 closing argument. See e.g., Chandler v. Moore, 240 F.3d 907, 914 (11th Cir.

 2001)(concluding prosecutorial comments did not rise to fundamental error, and Chandler's

 counsel could not be deemed ineffective for failing to object to such).

        Counsel's failure to interpose an objection to the prosecutor's statements during

 closing argument was neither unreasonable nor prejudicial and does not amount to

 constitutionally ineffective assistance of counsel. Thus, Ground Four does not warrant relief.

        Accordingly, the Court ORDERS that:

        1.     Petitioner's Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

 U.S.C. § 2255 (CV Dkt. 1) is DENIED.

        2.     The Clerk is to enter judgment for Respondent, terminate any pending motions,

 and close this case.

 CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA

 PAUPERIS DENIED

        IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

 appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

 a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court must

 first issue a certificate of appealability (“COA”). Id. "A [COA] may issue … only if the

 applicant has made a substantial showing of the denial of a constitutional right." Id. at §

 2253(c)(2). To make such a showing, defendant "must demonstrate that reasonable jurists

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 would find the district court's assessment of the constitutional claims debatable or wrong,"

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

 (2000)), or that "the issues presented were 'adequate to deserve encouragement to proceed

 further, '" Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle,

 463 U.S. 880, 893 n. 4 (1983)). Petitioner cannot make the requisite showing in these

 circumstances.

        Finally, because Petitioner is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

        DONE and ORDERED in Tampa, Florida on November 1, 2010.




 SA: sfc
 Copy to: Petitioner pro se
          Counsel of Record




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